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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MISSOURI
                         EASTERN DIVISION

UNITED STATES,                             )
                                           )
                                           )
              Plaintiff,                   )
                                           )
        vs.                                ) Case No. 4:15-cr-354-SNLJ
                                           )
STEVEN BLAKENEY,                           )
                                           )
              Defendant.                   )

                 MOTION FOR ORDER RELEASING COPY OF
                SEALED DOCUMENTS FOR LIMITED PURPOSE

        COMES NOW defendant STEVEN BLAKENEY, by and through counsel, and

hereby respectfully moves this Honorable Court to issue its order whereby the Clerk’s

Office forward to the undersigned, as Mr. Blakeney’s counsel, a copy of:

        (1)   Defendant’s Sentencing Memorandum and Supplemental Exhibits (Doc.

115, 118-1, 118-2) filed on July 26, 2016, and July 27, 2016;

        (2)   Government’s Sentencing Memorandum (Doc. 121) filed on July 29, 2016;

        (3)   Amended Sentencing Memorandum and Exhibits (Docs. 125, 125-1

through 125-12) filed on August 2, 2016;

        (4)   Government’s Sentencing Memorandum (Doc. 128) filed on August 2,

2016;




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       (5)    Supplemental Material for Sentencing Hearing with attachments (Docs.

152, 152-1 through 152-6) filed on October 4, 2016;

       (6)    Officer Revised Final Presentence Investigation Report (Doc. 153).

       Mr. Blakeney has retained the undersigned to represent him in his pending motion

filed under § 2255. See Blakeney v. United States, No. 4:19-cv-00079-SNLJ (E.D. Mo.).

To date, the undersigned has been unable to obtain these sealed documents. He contacted

the Federal Defender and the office indicated the file had been turned over to Mr.

Blakeney’s appointed counsel, who turned the file over to Mr. Blakeney which does not

contain these documents. These documents are necessary for the undersigned to review

and draft a reply to the government’s response. Mr. Blakeney requests that, for all other

purposes, these documents remain sealed.




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       WHEREFORE, for all the foregoing reasons, Mr. Blakeney respectfully requests

that this Court order the Clerk of Court to unseal documents 115, 118-1, 118-2, 121, 125,

125-1 through 125-12, 128, 152, 152-1 through 152-6, and 153.

                                           Respectfully submitted,

                                           LAW & SCHRIENER, LLC


                                           By: Kevin L. Schriener
                                           Kevin L. Schriener 35490MO
                                           Attorney for Defendant Blakeney
                                           141 North Meramec Avenue, Suite 314
                                           Clayton, Missouri 63105
                                           (314) 721-7095 – telephone
                                           (314) 863-7096 – facsimile
                                            kschriener@SchrienerLaw.com




                                  Certificate of Service

       I hereby certify that I filed the foregoing motion to disqualify with the Clerk of the
United States District Court for the Eastern District of Missouri to be served by operation
of the Court’s electronic filing system upon all parties of record this 7th day of April,

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2019.


                                    /s/ Kevin L. Schriener
                                    KEVIN L. SCHRIENER




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